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            UNITED STATES DISTRICT COURT
            MIDDLE DISTRICT OF LOUISIANA




 BLAIR IMANI, ET AL
              PLAINTIFFS
 V.                  DOCKET NO. 17-cv-00439-JWD-EWD
 CITY OF BATON ROUGE, ET AL
              DEFENDANTS




              Continuation of the 30 (b)(6)
 deposition of SERGEANT ORSCINI BEARD, II,
 taken on Wednesday, August 25, 2021,
 commencing at 10:05 a.m. via
 videoconferencing.




 REPORTED BY:
 Lori L. Marino
 Certified Court Reporter
            SOUTHERN COURT REPORTERS, INC.
                     (504)488-1112


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 7    BATON ROUGE
 8
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14    REPRESENTING THE PLAINTIFFS (SMITH V. CITY OF
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21    BATON ROUGE CITY POLICE DEPARTMENT OFFICERS
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                                                                           3

 1    APPEARANCES (CONTINUED):
 2
 3    BURGLASS & TANKERSLEY, LLC
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 1                          WITNESS INDEX
 2
      SERGEANT ORSCINI BEARD, II
 3    9000 AIRLINE HIGHWAY, SUITE 3200
      BATON ROUGE, LOUISIANA 70815
 4
 5
 6    TITLE                                                     1
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 1                    S T I P U L A T I O N
 2
 3                 It is stipulated and agreed by and
 4    between counsel that the deposition of
 5    SERGEANT ORSCINI BEARD, II is hereby being
 6    taken pursuant to the Federal Rules of Civil
 7    Procedure for all purposes in accordance with
 8    law;
 9                 That the formalities of
10    certification and filing are specifically
11    waived;
12                 That the formalities of reading and
13    signing are specifically not waived.
14                 That all objections, except those as
15    to the form of the question and/or
16    responsiveness of the answer, are hereby
17    reserved until such time as this deposition or
18    any part thereof may be used in evidence.
19
20                   *   *   *    *   *   *   *    *
21                 LORI L. MARINO, Certified Court
22    Reporter, in and for the State of Louisiana,
23    officiated in administering the oath to the
24    witness.
25
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 1                           PROCEEDINGS
 2               THE COURT REPORTER:
 3                      Will counsel, please, identify
 4               themselves and their representations,
 5               and also stipulate that by agreement
 6               of all parties, this deposition is
 7               being held via videoconferencing, and
 8               there is no objection to the witness
 9               being sworn in remotely.
10               MR. MOST:
11                      This is William Most on behalf
12               of the Imani plaintiffs.            We so
13               stipulate and agree; and also, Greg
14               Fahrenholt for the State Police by
15               email said he's running late, but he
16               agrees with the stipulations.
17               MR. FOLEY:
18                      This is Eric Foley and Hannah
19               Lommers-Johnson for the plaintiffs in
20               the Tennart v. City of Baton Rouge,
21               Smith v. City of Baton Rouge and
22               Batiste-Swilley v. City of Baton
23               Rouge, plaintiffs, and yes, we agree
24               to those stipulations.
25               MR. SCOTT:
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 1                      Joseph Scott for the City of
 2               Baton Rouge, Parish of East Baton
 3               Rouge, assorted officials, Baton
 4               Rouge Police Department and 183
 5               individual officers.          We'll accept
 6               that stipulation.
 7                           EXAMINATION
 8    BY MR. MOST:
 9         Q     I'm going to put into the chat
10    Sergeant Beard's full name and spelling.
11         A     It's Orscini, O-R-S-C-I-N-I, Beard,
12    B-E-A-R-D, II.
13         Q     Good morning, Sergeant Beard.              Can
14    you hear me all right?
15         A     Yes.    Good morning.
16         Q     Thank you for coming back to talk to
17    us today.     Sergeant Beard, you understand we
18    are currently continuing the 30(b)(6)
19    deposition in which we deposed you yesterday?
20         A     Yes, sir.
21         Q     So you understand today as yesterday
22    and as before, you are under oath and your
23    answers have the same force as if we're in a
24    courtroom with a judge or jury?
25         A     Yes, sir.
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 1         Q     Is there anything today, whether
 2    illness, migraine, fatigue, medication or
 3    substance that will prevent you from giving us
 4    your full attention and truthful and complete
 5    answers?
 6         A     No, sir.
 7         Q     Just as before, if you don't
 8    understand my questions or they're not clear,
 9    will you agree to tell me that that's the case
10    rather than try to answer them anyway?
11         A     Yes, sir.
12         Q     You understand that today, like
13    before, you are here designated to speak on
14    behalf of the City of Baton Rouge?
15         A     Yes, sir.
16         Q     You understand that your answers that
17    you give are the testimony of the City of
18    Baton Rouge.      Agreed?
19         A     Agreed.
20         Q     And that when we ask questions of
21    you, we're really asking questions of the City
22    of Baton Rouge.       Agreed?
23         A     Agreed.
24         Q     Do you have any questions or need any
25    clarity about your role as a representative
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 1    today of the City of Baton Rouge?              I know
 2    there was some confusion about that               before
 3    that we resolved.
 4         A     It's been resolved.
 5         Q     Thank you.       Between yesterday and
 6    today, did you talk to anyone to prepare for
 7    this deposition other than a lawyer?
 8         A     No, sir.
 9         Q     Did you talk to a lawyer to prepare
10    for today's deposition without telling me what
11    you discussed?
12         A     Briefly.
13         Q     Approximately, how many minutes did
14    you talk to a lawyer to prepare for today's
15    deposition?
16         A     Maybe, five minutes.
17         Q     I understand that we are going to be
18    asking some follow-up questions that you
19    previously said you'd have to research.
20    Correct?
21         A     Correct.
22         Q     Have you conducted research to be
23    able to truthfully and completely answer
24    those questions?
25         A     Yes, sir.
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 1          Q     Rather than, what I might do is I
 2    might ask you about each question what you did
 3    to figure that out, but just generally, in a
 4    big picture sense, what did you do to
 5    research?     Did you go back to your office and
 6    look at documents?          Did you look things up on
 7    the computer?       Just generally, what did you
 8    do?
 9          A     Yes, sir, I did both.            With the
10    assistance of my secretary, we went through
11    several documents in file cabinets and looked
12    at several things on the computer.
13          Q     Okay.    So it sounds like you talked
14    to your secretary to prepare for today's
15    deposition.
16          A     Just to assist me in finding the
17    items that I was requested to research.
18          Q     I'm not trying to trip you up.              I'm
19    just trying to see who you talked to.                Did you
20    talk to or use anyone else to look up
21    documents to prepare for today's deposition?
22          A     No, sir.
23          Q     The first question that you indicated
24    you would have to research was the following:
25    In the wake of the July 2016 protests, were
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 1    there any referrals or administrative reviews
 2    regarding the falsification or the inclusion
 3    of false information in either a probable
 4    cause affidavit or arrest report of a
 5    protester?      Are you prepared to answer that
 6    question?
 7         A      Yes, sir.
 8         Q      So were there any referrals,
 9    administrative reviews or other investigations
10    into the falsification or inclusion of false
11    information in probable cause affidavits from
12    the July 2016 protests?
13         A      No, sir.        I was unable to locate
14    anything.
15         Q      If there had been, it would be in the
16    places that you looked.           Agreed?
17         A      Agreed.
18         Q      So we can conclude that there were no
19    referrals or investigations or administrative
20    reviews regarding the falsification or
21    inclusion of false information in probable
22    cause affidavits or arrest reports of
23    protesters from the July 2016 protest.
24    Agreed?
25         A      Agreed.
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 1         Q      MacArthur, maybe, I'll just go
 2    through all of these; and then, if you have
 3    follow-up questions, you can ask them at the
 4    end unless you'd like to jump in on each.
 5                MR. FOLEY:
 6                      No.       That sounds fine.        I will
 7                just follow-up at the end if there's
 8                anything we think we need to add.
 9                MR. MOST:
10                      Okay.
11    BY MR. MOST:
12         Q      The second question is the background
13    of the second question is that back in 2019,
14    there was a report in the media and some
15    comment by Myron Daniels in respect to
16    allegations that the police officer's union
17    was making regarding an unequal application of
18    internal affairs investigations with regard to
19    white officers.       Are you generally familiar
20    with that?
21         A      I've heard.        Yes, sir.
22         Q      The second part of the background is
23    that Officer Daniels commented that that was
24    false; and in fact, there was a
25    disproportionate number of internal affairs
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 1    investigations against officers of color.                  Are
 2    you generally familiar with Officer Daniels's
 3    response?
 4         A      Yes, sir.
 5         Q      Specifically, Officer Daniels
 6    indicated that officers of color made up
 7    35 percent of the force but 41 percent of all
 8    investigations in 2018.          Are you familiar with
 9    that?
10         A      Yes, sir.
11         Q      So then, the question is given that
12    background, were there any actions taken
13    within the Internal Affairs Division to
14    address any disproportionate numbers of
15    investigations on the basis of race?
16         A      I remember Sergeant Daniels doing
17    statistics, and that was said in a commander's
18    meeting.     I never witnessed it on the media,
19    but to answer your question, no.
20         Q      So, to answer the question, there
21    were no actions taken by Internal Affairs to
22    respond to that potential inequity.               Agreed?
23         A      Agreed.
24         Q      The next question is whether or not
25    Internal Affairs received reports of
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 1    violations by Baton Rouge police officers as a
 2    result of the Alton Sterling protest.                 Are you
 3    prepared to answer that question?
 4         A      Yes, sir.
 5         Q      Yesterday, we looked at one
 6    accountability form in the Marcus Thompson
 7    investigation.       Correct?
 8         A      Correct.
 9         Q      Now that you have investigated
10    further, are there any further beyond those
11    two?
12         A      No, sir.        I could not locate any
13    further.
14         Q      If there were -- I'm sorry?              If there
15    were any other reports of violations or
16    investigations, they would be in the places
17    you looked.      Correct?
18         A      Correct.
19         Q      So we can conclude that there were
20    no -- Internal Affairs had no reports of
21    violations or investigations of any
22    Baton Rouge police officers other than that
23    one accountability form we looked at in the
24    Marcus Thompson investigation.                Agreed?
25         A      Agreed.
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 1         Q      That might answer the next question,
 2    as well.     So the next question is whether
 3    Internal Affairs initiated any investigations
 4    as a result of media reports of police
 5    misconduct during the Baton Rouge protest
 6    after Alton Sterling's killing.              Is the answer
 7    to that question the same as your previous
 8    one?
 9         A      Yes, sir.
10         Q      So Internal Affairs did not initiate
11    any investigations other than that one
12    accountability form in the Marcus Thompson
13    investigation into any media reports of police
14    misconduct during the July 2016 protest.
15    Agreed?
16         A      Agreed.
17         Q      The next question is as a result of
18    the Alton Sterling protests, did any -- was
19    any officer from the academy asked to provide
20    an opinion to the Internal Affairs Division?
21         A      I was unable to obtain that
22    information, because several instructors
23    during that time have since left; and if they
24    were contacted, it should have been in the
25    actual Alton Sterling report. It should have
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 1    been documented if an instructor was contacted
 2    for their opinion.
 3          Q     I want to the separate out from an
 4    officer the actual killing of Alton Sterling.
 5    I'm talking about specifically about the
 6    protest that followed that killing.               Did you
 7    look to see if any officer from the academy
 8    was asked to provide an opinion to Internal
 9    Affairs regarding the protests that the
10    followed the killing?
11          A     Repeat that last part again.
12          Q     Sure.    Was any officer from the
13    academy asked to provide an opinion to
14    internal affairs regarding anything related to
15    the July 2016 protests?
16          A     I couldn't verify that, sir.
17          Q     And you looked, and you couldn't find
18    it.    Correct?
19          A     Correct.
20          Q     If an academy officer was asked to
21    provide an opinion to Internal Affairs, that
22    should have been reflected in the places you
23    looked.     Agreed?
24          A     I didn't actually look at the report,
25    but it should be documented in said report.
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 1         Q      When you say the report, what report
 2    are you talking about?
 3                MR. SCOTT:
 4                      William, I think we're not
 5                matching up here.
 6                MR. MOST:
 7                      Perhaps.
 8                MR. SCOTT:
 9                      So I see, Sergeant Beard,
10                instructor opinions would be attached
11                to a particular IA report.
12                THE WITNESS:
13                      Yes, sir.
14                MR. SCOTT:
15                      Or accountability form.
16                THE WITNESS:
17                      Yes, sir.
18                MR. SCOTT:
19                      As you did not find any
20                additional protest-related
21                accountability forms or reports,
22                there were no instructor opinions to
23                be found?
24                THE WITNESS:
25                     Correct.
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                                                                            18

 1                MR. SCOTT:
 2                      Does that --
 3                MR. MOST:
 4                      I think so.
 5    BY MR. MOST:
 6         Q      From that, we can conclude, Sergeant,
 7    that Internal Affairs did not seek the opinion
 8    of anyone from the academy for anything
 9    related to the July 2016 protests.               Agreed?
10         A      Agreed.
11                MR. MOST:
12                      While we're on the topic of
13                use-of-force reports -- this is a
14                question for you Joe -- it's my
15                understanding that you have looked or
16                had your PD personnel look for
17                use-of-force reports related to the
18                July 2016 protests and have found
19                none at least as regards to the East
20                and France protest.         Agreed.
21                MR. SCOTT:
22                      I directed IA to check their
23                files and the training academy to
24                check their files for use-of-force
25                reports, and none were located as to
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                                                                            19

 1                July 10th East and France.
 2                MR. MOST:
 3                      Those are the places that they
 4                would be if they existed.            Agreed?
 5                MR. SCOTT:
 6                      Those are the places they should
 7                be if they existed.
 8                MR. MOST:
 9                      Fair enough.       I think those are
10                the questions that I had on my list.
11                Eric, do you have any follow-ups to
12                these?    I'm sorry.      Eric or Hanna.
13                MR. FOLEY:
14                      Give me just one moment.            I
15                don't think I do.        I just want to
16                doublecheck.      (Brief pause.)         I'm
17                sorry.    Thanks for your patience.             No
18                further questions for us.
19                MR. MOST:
20                      I'm going to pause the
21                recording.      We can go off the record.
22                      (Whereupon, the deposition was
23                concluded at 10:20 a.m.)
24
25
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 1                    WITNESS CERTIFICATE
 2
 3
 4                 I, SERGEANT ORSCINI BEARD, II, do
 5    hereby certify that the foregoing testimony
 6    was given by me, and that the transcription of
 7    said testimony, with corrections and/or
 8    changes, if any, is true and correct as given
 9    by me on the aforementioned date.
10
11
12
13
      DATE SIGNED                 SERGEANT ORSCINI BEARD, II
14
15
16
17                 Signed with corrections as noted.
18
19                 Signed with no corrections noted.
20
21
22
23
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 1                     C E R T I F I C A T E
 2
 3              I, LORI L. MARINO, Certified Court
      Reporter, in and for the State of Louisiana,
 4    as the officer before whom this testimony was
      taken, do hereby certify that SERGEANT ORSCINI
 5    BEARD, II, after having been duly sworn by me
      upon authority of R.S. 37:2554, did testify as
 6    hereinbefore set forth in the foregoing 20
      pages; that this testimony was reported by me
 7    in the stenotype reporting method, was
      prepared and transcribed by me or under my
 8    personal direction and supervision, and is a
      true and correct transcript to the best of my
 9    ability and understanding; that the transcript
      has been prepared in compliance with
10    transcript format guidelines required by
      statute or by rules of the board, that I have
11    acted in compliance with the prohibition on
      contractual relationships, as defined by
12    Louisiana Code of Civil Procedure Article 1434
      and in rules and advisory opinions of the
13    board; that I am not related to counsel or to
      the parties herein, nor am I otherwise
14    interested in the outcome of this matter.
15
16           Dated this 12th day of September, 2021.
17
18
19
20
21                 LORI L. MARINO, CCR
                   CCR #87069
22                 STATE OF LOUISIANA
23
24
25
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